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Attorney for Movant
CHELSEA CRESPO

                 UNITED STATES BANKRUPTCY COURT

                      FOR THE DISTRICT OF HAWAII

                        )    Case No. 20-00612
IN RE:                  )
                        )
DEVOHN ASHLEY DETWILER )     MOTION TO REOPEN CASE
                        )    AND FOR DECLARATORY
                        )    RELIEF FOR RELIEF FROM
                        )    DISHCARGE AND STAY;
                        )    MEMORANDUM IN SUPPORT;
                        )    DECLARATION OF COUNSEL;
                        )    EXHIBITS “A” THROUGH “E”
                        )
                        )
                        )
                        )
  MOTION TO REOPEN CASE AND FOR DECLARATORY RELIEF FOR
             RELIEF FROM DISHCARGE AND STAY

    COMES NOW, CHELSEA CRESPO (hereinafter “Movant’), by and

through her attorney, SHOWA LAW OFFICE, LLLC, and hereby moves the

Court to reopen the above-captioned bankruptcy case in order to issue a

declaratory judgment determining the dischargeability of Movant’s claims

against Debtor set forth in that certain civil action filed in Chelsea Crespo




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   U.S. Bankruptcy Court - Hawaii #20-00612
v. Devohn A. Detwiler, et. al., Civil No. 1CCV-XX-XXXXXXX in the Circuit

Court of the First Circuit, State of Hawaii on December 20, 2020.

     This Motion is brought pursuant to 11 U.S.C. Section 350 et. seq.,

11 U.S.C. Section 523 et. seq., 11 U.S.C. Section 727, et seq., Rule 4007

of the Federal Rules of Bankruptcy Procedure

          DATED:      Honolulu, Hawaii, June 24, 2021.

                                                /s/ Andrew Daisuke Stewart
                                           _________________________________
                                              ANDREW DAISUKE STEWART
                                                SHOWA LAW OFFICE, LLLC
                                                           Attorney for Movant
                                                           CHELSEA CRESPO




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